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                                   8                                 UNITED STATES DISTRICT COURT

                                   9                                NORTHERN DISTRICT OF CALIFORNIA

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                                        CONSUMER FINANCIAL PROTECTION
                                  11    BUREAU,                                             Case No. 15-cv-02106-RS

                                  12                   Plaintiff,
Northern District of California
 United States District Court




                                                                                            ORDER DENYING POST-TRIAL
                                  13            v.                                          MOTIONS
                                  14    NATIONWIDE BIWEEKLY
                                        ADMINISTRATION, INC., et al.,
                                  15
                                                       Defendants.
                                  16

                                  17                                           I. INTRODUCTION

                                  18          This is a civil enforcement action brought by the Consumer Financial Protection Bureau

                                  19   (“CFPB”) against Nationwide Biweekly Administration, Inc. (“Nationwide”), its wholly-owned

                                  20   subsidiary Loan Payment Administration (“LPA”), and Daniel Lipsky, the founder,

                                  21   president, sole officer, and sole owner of Nationwide. LPA functions essentially as a second name

                                  22   under which Nationwide markets its services. After a seven day bench trial and post-trial briefing,

                                  23   judgment was entered in favor of CFPB. The judgment imposed a statutory penalty of

                                  24   $7,930,000 against all defendants, jointly and severally, and provided for certain injunctive relief.

                                  25   The judgment also denied defendants any relief on their counterclaims.

                                  26          Defendants now bring two motions under Rules 59 and 60 of the Federal Rules of Civil

                                  27   Procedure—one challenging the imposition of the monetary penalty, and one seeking reversal of

                                  28   the decision denying relief on the counterclaims. Pursuant to Civil Local Rule 7-1(b) both
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                                   1   motions are suitable for disposition without oral argument. The motions will be denied.

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                                   3                                        II. LEGAL STANDARDS

                                   4          Under Rule 59(e) of the Federal Rules of Civil Procedure a party may move to have the

                                   5   court amend its judgment within twenty-eight days after entry of the judgment. “Since specific

                                   6   grounds for a motion to amend or alter are not listed in the rule, the district court enjoys

                                   7   considerable discretion in granting or denying the motion.” McDowell v. Calderon, 197 F.3d

                                   8   1253, 1255 n. 1 (9th Cir.1999) (en banc) (per curiam) (internal quotation marks omitted).

                                   9   Nevertheless, amending a judgment after its entry remains “an extraordinary remedy which should

                                  10   be used sparingly.” Id. (internal quotation marks omitted). Generally, relief under Rule 59(e) is

                                  11   available for any of four basic reasons: (1) to correct manifest errors of law or fact upon which the

                                  12   judgment rests; (2) to address newly discovered or previously unavailable evidence; (3) to prevent
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                                  13   manifest injustice; or (4) to address an intervening change in controlling law. Id; see also Allstate

                                  14   Ins. Co. v. Herron, 634 F.3d 1101, 1111 (9th Cir. 2011).

                                  15          Defendants also assert they seek relief under the prong of Rule 60(b) that permits a court to

                                  16   set aside a judgment based on “newly discovered evidence.” As the text of the rule explains,

                                  17   however, such evidence must be that which “with reasonable diligence, could not have been

                                  18   discovered in time to move for a new trial under Rule 59(b).” See Rule 60(b)(2). As the deadline

                                  19   for new trial motions under Rule 59(b) is the same 28 day time period defendants were operating

                                  20   under for their Rule 59(e) motions, they have made no showing that they lacked time to bring a

                                  21   new trial motion based on any “newly discovered evidence,” and their requests for relief under

                                  22   Rule 60(b) must fail for that reason alone. Arguably, however, the Rule 60(b) motions more

                                  23   broadly invoke purported “manifest errors” of fact and or law. As such, they potentially are

                                  24   cognizable under the prongs of Rule 60(b) permitting relief for “mistake” and/or the catch-all “any

                                  25   other reason that justifies relief.” See Rule 60(b)(1) and (6).

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                                   1                                           III. DISCUSSION

                                   2          A. Civil Penalty

                                   3          Defendants seek relief from the civil penalty imposed by the judgment. They first contend

                                   4   there is “new evidence” demonstrating their inability to pay the penalty and “the severe and

                                   5   inequitable hardship resulting from the judgment.” As noted above, seeking relief under Rule

                                   6   60(b) based on purported “new evidence” is not tenable where a timely new trial motion could

                                   7   have been brought. Even if that were not so, defendants simply have not shown that the claimed

                                   8   “new evidence” provides a sufficient legal or equitable basis to eliminate the civil penalty. Some

                                   9   of defendants’ contentions regarding their financial resources were previously addressed. See Dkt.

                                  10   No. 330. The remaining claims regarding their present resources, and the effect of the penalty, do

                                  11   not warrant excusing them from the obligation to pay.

                                  12          Defendants’ further contentions that the Opinion and Order includes manifest errors of fact
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                                  13   and/or law all are premised on their previously-advanced arguments that the CFPA does not

                                  14   adequately define “deceptive” and that it was error to apply the definitions of that term found in

                                  15   case law under the FTC Act. Defendants expand their prior points to insist now that if the

                                  16   definitional standards of the FTC Act apply, so too should certain procedural steps for imposing

                                  17   penalties under that act.1 None of these arguments rise to a basis for relief under Rule 59 or 60.

                                  18   As reflected in the Opinion and Order, defendants’ suggestion that the statutory meaning of

                                  19   deceptiveness required further or different explication is not tenable. See Opinion and Order at

                                  20   4:22-6:3. Indeed, the definition defendants proposed was not materially different from that

                                  21   applied. Id. Moreover, the mere fact that case law under the FTC was considered as persuasive

                                  22   guidance on the meaning of a term does not somehow require that all other aspects of the FTC law

                                  23   must apply.

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                                         Defendants also contend penalties under the FTC act are not available absent a showing of public
                                  25   injury. That likely is true, as is defendants’ further contention that showing injury to the public
                                       should be a requirement for penalties under the CFPA. Defendants’ claim that no such public
                                  26   injury was shown here is not correct however. Although the Opinion and Order declined to
                                       impose restitution, it identified multiple elements of harm to the public resulting from defendants’
                                  27   practices, as supporting both the imposition of the penalty and injunctive relief.
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                                   1          B. Injunction

                                   2          Defendants argue that the terms of the permanent injunction entered against them—which

                                   3   to a large degree adopted the narrower, less detailed and demanded provisions they proposed

                                   4   rather than those submitted by the CFPB—improperly impede their ability to engage in

                                   5   comparative advertising. Defendants contend the FTC actually “encourages the naming of, or

                                   6   reference to competitors,” and that provisions in the injunction do not adequately reflect that

                                   7   policy. The FTC policy language quoted by defendants, however, goes on to caution that

                                   8   comparative advertising “requires clarity, and, if necessary, disclosure to avoid deception of the

                                   9   consumer.” Particularly in light of the evidence of defendants prior practices and the conclusions

                                  10   of the Opinion and Order regarding those practices, the limitations of the injunction reflect

                                  11   appropriate safeguards “to avoid deception of the consumer.” Defendants certainly have not

                                  12   shown a basis under Rule 59 or 60 to revisit the language of the injunction now.
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                                  13          Finally, defendants suggest that by pursuing a lawsuit under all the circumstances here,

                                  14   CFPB has improperly delegated its rulemaking and regulatory function to the courts. This

                                  15   argument again rests on defendants’ unpersuasive claims that the definition of the statutory term

                                  16   “deceptive” is a particularly troublesome issue, so problematic in fact, that it should not be left to a

                                  17   court to decide. This argument is not tenable, and does not support relief under Rule 59 or 60 in

                                  18   any event. The motion under Rules 59 and 60 seeking relief from the judgment on the CFPB’s

                                  19   affirmative case is denied.

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                                  21          C. Counterclaims

                                  22          The intended basis of the motion addressed to the counterclaims is less than completely

                                  23   clear.2 The moving papers suggest there is “new evidence” because “after the conclusion of the

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                                         As described in a prior order (Dkt. No. 347), defendants were given leave to file corrected
                                  25   motion papers (Dkt. No. 348) because it was clear from the face of the original filing (Dkt. No.
                                       342) that some form of document-processing error had occurred. Leave to file the corrected
                                  26   motion, however, was without prejudice to a conclusion that prong of the motion brought under
                                       Rule 59 was untimely. While there is no basis to grant the motion under Rule 59 in any event, the
                                  27   untimeliness provides an additional ground for denying it.
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                                   1   trial, briefing and oral arguments, the federal government acknowledged the existence of

                                   2   Operation Choke Point during the relevant time period, and now has said that the Choke Point

                                   3   Operation should be and has been ended.” The bulk of the argument advanced, however, relates to

                                   4   the press release issued by CFPB when the complaint was filed, and contentions that it was

                                   5   wrongful and caused harm to defendants. The motion then asserts a mandatory injunction, the

                                   6   terms of which are not specified, should issue “to remedy CFPB’s violation of Nationwide’s right

                                   7   to due process.”

                                   8          On reply, defendants concede that the existing findings of fact and conclusions of law

                                   9   adequately address the allegations regarding Operation Chokepoint and that there is no basis to

                                  10   revisit that issue, regardless of any “admissions” the federal government may have recently made

                                  11   regarding the general subject. See Reply at 5:18-19 (“We understand that the Court has ruled on

                                  12   those allegations.”) Defendants insist, however, that their allegations, evidence, and contentions
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                                  13   regarding the press release have not been addressed or adjudicated.

                                  14          Defendants are mistaken. Although the Opinion and Order did not expressly refer to the

                                  15   “press release” by that term, as defendants point out their contentions regarding the press release

                                  16   were unambiguously presented and submitted for decision.

                                  17          With the question of whether the press release was wrongful or had caused harm among

                                  18   the issues squarely-presented, the Opinion and Order concluded:

                                  19                  Sitting now as a trier of fact, the Court concludes the evidence at
                                                      trial—no more robust than that previously presented—does not
                                  20                  warrant drawing an inference in this case that CFPB engaged in any
                                                      “back-room pressure tactics” as part of “Operation Chokehold” or
                                  21                  otherwise, or that the banks terminated their relationships with
                                                      defendants based on any such wrongful conduct by CFPB. Rather,
                                  22                  the evidence supports a conclusion that while the filing of this action
                                                      itself—a privileged and non-actionable act—may have contributed
                                  23                  to the termination of the banking relationships, those relationships
                                                      were already strained for reasons unrelated to any conduct by
                                  24                  CFPB. Lipsky’s testimony on the point demonstrates that defendants
                                                      lack any facts to support the claim of wrongful extra-judicial
                                  25                  pressure. Rather, Lipsky testified he has drawn his own conclusion
                                                      that the banks terminated the relationships because of CFPB’s mere
                                  26                  identity as the plaintiff in this action. Defendants submitted no
                                                      evidence from the banks sufficient to establish the factual predicates
                                  27                  for their counterclaims, even assuming “extra-judicial” pressure
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                                                      might, in some circumstances, support a claim under the legal
                                   1                  theories advanced. Accordingly, the counterclaims fail for lack of
                                                      proof.
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                                   3   Opinion and Order at 23:15-24:4 (emphasis added). While defendants may believe that different

                                   4   conclusions should have been drawn regarding the press release, its form, content, and effects, it

                                   5   simply is not the case that defendants’ evidence and arguments regarding the press release was

                                   6   previously overlooked. While not catalogued in detail, that evidence and argument was found

                                   7   insufficient to support the counterclaims. The motion under Rules 59 and 60 seeking relief from

                                   8   the judgment on the counterclaims is denied.

                                   9

                                  10   IT IS SO ORDERED.

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                                  12   Dated: March 12, 2018
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                                  13                                                   ______________________________________
                                                                                       RICHARD SEEBORG
                                  14                                                   United States District Judge
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